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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                     )
                                              )
      Plaintiff,                              )
                                              )
v.                                            )      Case No. CR-18-227-SLP
                                              )
JOSEPH MALDONADO-PASSAGE,                     )
                                              )
      Defendant.                              )

                                     ORDER

      Before the Court is the United States’ Motion to Unseal Sentencing Memorandum,

Attachments and Response [Doc. No. 188]. Defendant is directed to respond to the Motion

on or before October 29, 2021.

      IT IS SO ORDERED this 22nd day of October, 2021.
